
PER CURIAM.
Appellant, Terrell Rivers, appeals the summary denial of his Florida Rule of Criminal Procedure 3.850 motion. We affirm in all respects except as to Appellant's claim that his counsel was ineffective for failing to object to the admission of dispatch logs.
The record before us does not include the portion of the transcript relevant to the admission of the dispatch logs at trial or otherwise definitively reflect the basis for their admission. Therefore, given Appellant's allegations, the attached record does not conclusively refute Appellant's claim. As such, we reverse and remand for the trial court to either hold an evidentiary hearing or to attach those portions of the record that conclusively refute the claim. We otherwise affirm.
AFFIRMED in part; REVERSED in part; and REMANDED.
ORFINGER, BERGER and EISNAUGLE, JJ., concur.
